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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

W.R. GRACE & Co., et al,

Debtor.

) Chapter 11

)
) Case No. 01-1139 (IKF)

) Jointly Administered
) Objection Date: March8, 2010 @ 4 p.m.

THIRTY-FIFTH INTERIM APPLICATION OF CAPLIN & DRYSDALE,
CHARTERED, COUNSEL TO THE OFFICIAL COMMITTEE OF ASBESTOS
PERSONAL INJURY CLAIMANTS OF W.R. GRACE & CO., ET AL., FOR INTERIM
COMPENSATION AND REIMBURSEMENT OF EXPENSES

Name of Application:

Authorized to Provide
Professional Services to:

Date of Retention:

Period for which
Compensation and
Reimbursement are sought:

Amount of Compensation
Sought as actual, reasonable
And necessary

Amount of Expense
Reimbursement sought as

actual, reasonable
and necessary

This is an: x interim

DOC# 149370 v1 - 04/28/2003

Caplin & Drysdale, Chartered

The Official Committee of Asbestos
Claimants of the above-captioned
debtor and debtor-in-possession

June 13, 2001 nunc pro tunc
To April 12, 2001

October 1, 2009 through
~ December 31, 2009

$868,243.75

$147,341.92

__ final application.
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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

“Inte: ) Chapter 11
)
W. R. GRACE & Co., et al. ) Case No. 01-1139 (SKF)
) Jointly Administered
Debtor. )

THIRTY-FIFTH INTERIM APPLICATION OF CAPLIN & DRYSDALE,
CHARTERED, COUNSEL TO THE OFFICIAL COMMITTEE OF ASBESTOS
PERSONAL INJURY CLAIMANTS FOR INTERIM
COMPENSATION AND REIMBURSEMENT OF EXPENSES

Pursuant to 11 U.S.C. §§ 330 and 331, Rule 2016 of the Federal Rules of Bankruptcy
Procedure, and the Administrative Order, Pursuant to Sections 105(a) and 331 of the Bankruptcy
Code, Establishing Procedures for Interim Compensation and Reimbursement of Expenses of
Professionals (the “Administrative Order”), the law firm of Caplin & Drysdale, Chartered
("Caplin & Drysdale") hereby submits this Thirty-Fifth interim application (“Thirty-Fifth Interim
Application”) for an Order awarding it interim compensation for professional legal services
rendered as national counsel to the Official Committee of Asbestos Personal Injury Claimants
(the "Committee") of the debtor, W. R. Grace & Co., et al., ("Debtor"), in an amount of

$868,243.75, together with reimbursement of Caplin & Drysdale's actual and necessary expenses

incurred in the amount of $147,341.92, for the period commencing October 1, 2009 through

December 31, 2009 (the "Application Period"). In support of this Thirty-Fifth Interim

Application, Caplin & Drysdale respectfully represents as follows:
I JURISDICTION

1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1334.
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II. BACKGROUND

2. On April 2, 2001 (the "Petition Date"), the Debtor filed a voluntary petition for
relief under Chapter 11 under Title 11 of the United States Code (the "Bankruptcy Code").

3. From the Petition Date through the date of this Thirty-Fifth Interim Application,
the Debtor has continued to operate its businesses and manage its properties as debtor-in-
possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

4, On April 12, 2001, the Office of the United States Trustee appointed the
Committee pursuant to section 1102 of the Bankruptcy Code.

5. On May 3, 2001, the Committee filed and served its Application For Entry Of An
Order Nunc Pro Tune As Of April 12, 2001 authorizing the employment of Caplin & Drysdale as
national counsel for the Committee. On June 13, 2001, the Court entered an order, approving the
retention application.

lil, RELIEF REQUESTED
6. Through this Thirty-Fifth Interim Application, Caplin & Drysdale seek allowance

and payment of $868,243.75 in fees for services rendered during the Application Period and

reimbursement of $147,341.92 for reasonable and necessary expenses incurred during the
Application Period. Thus, Caplin & Drysdale seeks allowance and payment in the total amount
of $1,015,585.67.

7. Caplin & Drysdale has received no payment and no promises for payment from
any source for services rendered during the Application Period in connection with the case.
There exists no agreement or understanding between Caplin & Drysdale and any other person for
the sharing of any compensation to be received for services rendered by Caplin & Drysdale in

the case.
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8. All services for which compensation is requested by Caplin & Drysdale pursuant
to this Application were performed for or on behalf of the Committee in this case.
9. This is Caplin & Drysdale' Thirty-Fifth Interim Application.
IV. SUMMARY OF SERVICES RENDERED
10. The professionals at Caplin & Drysdale who have provided services to or for the

Committee in this case and their standard hourly rates during the Application Period were as

follows:
Name Position Years Rate
Experience
Elihu Inselbuch (EI) Member 47 $920
Peter V. Lockwood (PVL) Member 43 $840
Bernard S. Bailor (BSB) Member 38 $630
Nathan D. Finch (NDF) Member 17 $610
Ann C. McMillan (ACM) Member 25 $580
Leslie M. Kelleher (LMK) Member 20 $550
Rita C. Tobin (RCT) Of Counsel 19 $530
Jeffrey A. Liesemer (JAL) Of Counsel 16 $495
Kevin C. Maclay (CM) Of Counsel 15 $495
James P. Wehner (JPW) Of Counsel 14 $495
Jeanna M. Rickards (JMR) Associate 5 $320
Andrew J. Sackett (AJS) Associate 5 $295
Todd E. Phillips (TEP) Associate 5 $270

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Michael C. Greene (MCG) Paralegal 8 $235
Erroll G. Butts (EGB) Paralegal 14 $235
Eugenia Benetos (EB) Paralegal 7 $205
Shirley D. Chisolm (SDC) Paralegal 8 $205
Samira A. Taylor (SAT) Paralegal 6 $195
Marissa A. Fanone (MAF) Paralegal 2 $195
Sarah Joy DelSavio (SJD) Paralegal 5 $195
Alan J. Payne (AJP) Paralegal 3 $195

11. Caplin & Drysdale has maintained detailed records of the time spent in the rendition
of professional services for the Committee during the Application Period. Attached hereto as
Exhibit A and incorporated herein by reference is a true and correct copy of the monthly billing
statement prepared for the services rendered-in this case by Caplin & Drysdale (the “Billing
Statement”). The Billing Statement is in the same form regularly used by Caplin & Drysdale to
bill its clients for services rendered and includes the date that the services were rendered, a
detailed, contemporaneous narrative description of the services, the amount of time spent for
each service and the designation of the professional who performed the service. In addition,
attached hereto as Exhibit B and incorporated herein by reference is a summary by category of
the professional services provided during the Application Period.

12. _ As set forth on Exhibits A and B, Caplin & Drysdale rendered 1,782.6 hours of

professional services during the Application Period, resulting in legal fees totaling $868,243.75

and associated reasonable and necessary expenses totaling $147,341.92.

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13. The total value of the services rendered by Caplin & Drysdale as shown on

Exhibit B, broken down among the persons rendering the services is as follows’:

Name Hours /| Hourly Rate Value

Elihu Inselbuch 27.6 $920 $25,392.00
Peter V. Lockwood 178.5 | $840 $148,092.00
Bernard S. Bailor 81.2 | $630 $51,156.00
Nathan D. Finch 252.7 | $610 $152,225.50
Ann C. McMillan 41,2 $580 $23,896.00
Leslie M. Kellcher 1.5 $550 $825.00
Rita C. Tobin 29,6 | $530 $15,688.00
Jeffrey A. Liesemer 134.0 | $495 $66,330.00
Kevin C. Maclay 210.6 | $495 104,247.00
James P. Wehner 325.4 | $495 $161,073.00
Jeanna M. Rickards 83.0 $320 $26,560.00
Andrew J. Sackett 53,3 $295 $15,723.50
Todd E, Phillips 86.4 $270 $23,328.00
Michael C. Greene 3.0 | $235 $705.00
Erroll G. Butts 48.5 | $235 $9,576.25
Eugenia Benetos 9.2 $205 $1,886.00
Shirley D. Chilsom 2.5 $205 512.50
Samira A. Taylor 7.9 $195 1,540.50

. Nonworking travel time is billed at one-half the attorney's usual hourly rate. See Exhibit A,
Task Code .16 for breakdown.
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Marissa A. Fanone 163.7 | $195 $31,141.50
Sara Joy DelSavio 41.0 | $195 7,995.00
Alan J. Payne 1.8 $195 351.00
Total 1,782.6 $868,243.75

14. Set forth below are the rates for the expenses incurred by Caplin & Drysdale for
which reimbursement is requested pursuant to this Application, as well as the basis for such rates
for the identified expense items:

a) Copy charges: Caplin & Drysdale charges $0.10 per page for copies and such
charge is based on an analysis of the cost to Caplin & Drysdale to make a copy;

b) Computer research charges: Caplin & Drysdale passes through on an exact cost
basis all computer-assisted research charges; and

c) Out-going facsimile charges: Caplin & Drysdale charges $0.15 for each page. These
charges are based on an analysis of the cost to Caplin & Drysdale to send facsimile transmissions.
Caplin & Drysdale does not pass through to its client’s expenses or charges related to incoming
facsimile transmissions.

15. Attached hereto as Exhibit C and incorporated herein by reference is a summary
by category of the expenses incurred by Caplin & Drysdale for which reimbursement is
requested. This information also appears on Exhibit A hereto. Further supporting
documentation is available upon request.

16. | The general areas in which Caplin & Drysdale has rendered professional services
to the Committee during the Application Period in the Case may be broadly characterized as

follows:
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a) providing legal advice with respect to the Committee's powers and duties as an
official committee appointed under section 1102 of the Bankruptcy Code;
b) preparing on behalf of the Committee necessary applications, motions, complaints,
answers, orders, agreements and other legal papers;
c) appearing in Court to present necessary motions, applications and pleadings and
otherwise protecting the interests of the Committee; and
d) performing legal services for the Committee necessary and proper in these
proceedings.
17. The generality of the foregoing description is amplified on a day-to-day basis by
the Billing Statement attached as Exhibit A.
18, Thus, through this Thirty-Fifth Interim Application, Caplin & Drysdale seeks

interim allowance and payment of $868,243.75 in fees and $147,341.92 in expenses. A Notice

of Thirty-Fifth Interim Application will be filed and served on all parties requesting notice under

Bankruptcy Rule 2002.

V. ALLOWANCE OF COMPENSATION

19, Caplin & Drysdale have endeavored to represent the Committee in the most
expeditious and economical manner possible. Further, the professionals at Caplin & Drysdale have
coordinated their activities with co-counsel to avoid duplication of effort on behalf of the

Committee in the case whenever possible.
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WHEREFORE, Caplin & Drysdale, Chartered respectfully requests that the Court enter an

Order approving this Application and directing payment of $868,243.75 in fees and reimbursement

of $147,341.92 in expenses, and for such other and further relief as the Court deems just and

proper.

Cc DRYSDALE

Elihu Inselbuch

Rita C. Tobin

Caplin & Drysdale, Chartered
375 Park Avenue, 35" Floor
New York, NY 10152-3500
(212) 319-7125

National Counsel for Official Committee
Of Asbestos Personal Injury Claimants

Dated: February 16, 2010

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